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 8
                     UNITED STATES DISTRICT COURT
 9
           CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
10
11    YOUTH JUSTICE COALITION, a non-         Case No.: 2:16-cv-07932-VAP-RAO
12    profit organization; et al.,
                                              DEFENDANT’S OPPOSITION TO
13                   Plaintiffs,              PLAINTIFFS’ MOTION “TO
14          vs.                               EXPAND THE PRELIMINARY
                                              INJUNCTIONS ENTERED ON
15
      CITY OF LOS ANGELES; et al.,            BEHALF OF PLAINTIFFS PETER
16                                            ARELLANO AND JOSE REZA TO
                     Defendants.              THE ENTIRE CLASS”;
17
                                              MEMORANDUM OF POINTS
18                                            AND AUTHORITIES IN
19                                            SUPPORT THEREOF
20
                                              [Filed Concurrently with
21                                            (1) Declaration of Patricia Ursea;
22                                            (2) Declaration of Arturo Martinez;
                                              and (3) Defendant’s Evidentiary
23                                            Objections]
24
                                              Complaint Filed: October 25, 2016
25                                            Hearing Date: February 26, 2018
26                                            Hearing Time: 2:00 p.m.
27                                            Trial Date: None Set

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 1                                      INTRODUCTION
 2
            The Court should deny Plaintiffs’ motion to expand to the entire class the
 3
      preliminary injunctions entered in favor of the two named Plaintiffs (Peter
 4
 5    Arellano and Jose Reza) last year. The crux of Plaintiffs’ argument is that because

 6    the Court previously granted the named Plaintiffs’ requests for preliminary
 7    injunction, it should do the same for the class. (See [Dckt 115] Plaintiff’s Motion
 8    to Expand Preliminary Injunctions (“Pl’s Mot. to Expand”) at 1:3-16.) The flaw in
 9    Plaintiffs’ logic is that it fails to acknowledge that the gang injunction policy that
10    was in place at the time those preliminary injunctions were issued was dramatically
11    different than Defendant’s present gang injunction policy. The motion should be
12    denied because the revised policy—which grants every individual served with a
13    gang injunction the right to have the Los Angeles Superior Court adjudicate his or
14    her active gang membership—significantly changes the application of the Winter
15    factors. See Winter v. Natural Res. Def. Council, Inc. 555 U.S. 7, 24 (2008)
16
      (requiring plaintiffs to establish that they are likely to succeed on the merits and
17
      suffer irreparable harm, that the balance of equity tips in their favor, and that an
18
      injunction is in the public interest).
19
            Plaintiffs have presented no evidence that, in light of Defendant’s revised
20
      policy, they are entitled to a class-wide preliminary injunction under Winter.
21
      Indeed, despite their burden of proof on this motion, Plaintiffs largely ignore the
22
      fact that Defendant has adopted and implemented a revised policy for serving and
23
24    enforcing gang injunctions. They do not attach the policy documents, do not

25    discuss any of the details of the policy, and do not explain why they believe the
26    revised policy fails to satisfy due process.
27          Having failed to acknowledge the substantial differences between
28    Defendant’s former and revised policies, Plaintiffs cannot satisfy their burden of


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 1    proof on this motion. The constitutional concerns the Court identified with
 2    Defendant’s former policy when ruling on Plaintiff Arellano’s motion 1 are not
 3    implicated by the revised policy. (See [Dckt 106] Order Granting Plaintiff Peter
 4    Arellano’s Motion for Preliminary Injunction (“Arellano Order”).) In the Arellano
 5    Order, the Court concluded that Plaintiff Arellano demonstrated a likelihood of
 6
      success and irreparable harm because the (post-deprivation) removal procedures
 7
      available to him at the time, i.e., the administrative removal procedure and the
 8
      “opt-out’ procedure, were unfairly one-sided. (See id. at pp.16-25). Plaintiffs do
 9
      not argue that this same conclusion applies to Defendant’s revised policy. Nor can
10
      they. The revised policy creates an entirely new procedure:
11
                1. Upon request by any class member, Defendant will file a motion in
12
                   Los Angeles Superior Court seeking a determination as to active gang
13
14                 membership (without any of the restrictions of the opt-out provision);

15              2. The Los Angeles Police Department (“LAPD”) will not enforce any

16                 gang injunction served in the future for an initial 30-day
17                 “forbearance” period to allow those individuals an opportunity seek
18                 judicial (or administrative) review before enforcement;
19              3. If individuals served in the future seek judicial (or administrative)
20                 review, Defendant will not enforce the injunction unless and until a
21                 final determination of active gang membership is made.
22
23
      1
        It is not accurate to say that the Court preliminarily enjoined enforcement against
24    both Plaintiffs Arellano and Reza “on the ground that they are likely to prevail on
25    their claims…” (See Pl’s Mot. to Expand at 1:3-7). The Court reached that
26    conclusion only as to Plaintiff Arellano. (See Arellano Order at p.29). Judge
      Fairbank entered the order as to Plaintiff Reza without ruling on the merits of the
27    motion; instead, the Court based its decision solely on Defendant’s concession that
28    it did not believe that Reza’s current gang participation rose to a level that is “more
      than nominal, passive, inactive, or purely technical.” ([Dckt. 28] at p.5.)

                                                2
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 1    (See 2/5/18 Declaration of Arturo Martinez (“Martinez Decl.”) at ¶8.)
 2          Over the course of the last month, all previously served individuals who
 3    remain subject to enforcement were notified that Defendant will initiate this
 4    judicial process upon request; (id. at 13; Ex. 4 thereto); as of the date of this
 5    Opposition, none have requested it. (Id. at 14.) It is unclear what aspects of
 6
      Defendant’s revised policy Plaintiffs find objectionable. The policy provides both
 7
      future-served and previously-served individuals with an opportunity to review and
 8
      refute the evidence against them and adjudicate the issue of active gang
 9
      membership before a Superior Court Judge. Future-served individuals who request
10
      this opportunity will not be subject to enforcement unless and until the Superior
11
      Court judge issues an order permitting it. Previously-served individuals who
12
      request the judicial process can obtain similar relief by seeking a stay of
13
14    enforcement from that judge.

15          Plaintiffs have failed to establish that the law requires anything more.

16    Indeed, the only perceptible arguments Plaintiffs articulate against the revised
17    policy are that they believe it (1) is “experimental”; and (2) fails to provide “pre-
18    deprivation” process for all class members. (Pl’s Mot. to Expand at 15:13-17;
19    16:13-16). Both arguments fail.
20          First, Plaintiffs point to nothing in the record to support their assertion that
21    the revised policy is a temporary “experiment.” Instead, they base their suspicion
22    on a declaration by Plaintiffs’ counsel purporting to summarize a meet-and-confer
23    call with Defendant’s counsel. (Id. at 15:13-17 and [Dckt 115-1] Declaration of
24    Melanie Ochoa.) Plaintiffs’ speculation is unfounded. Even if statements made by
25
      an attorney during a meet-and-confer held any evidentiary value under the law
26
      (and they do not), and the declarant did not misapprehend the statements made by
27
      Defendant’s counsel (which she appears to have), the factual record demonstrates
28
      that Defendant’s commitment to provide additional constitutional safeguards to its

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 1    gang injunction service and enforcement policy is both sincere and enduring.
 2    There is no evidence whatsoever to suggest that Defendant will not follow through
 3    with its policy to file motions in Superior Court on behalf of any served individual
 4    who requests one.
 5          Second, Plaintiffs’ contention that the revised policy is unconstitutional
 6
      because it does not provide pre-deprivation process to the class is both factually
 7
      inaccurate and legally unsupported—as well as unnecessary to this Court’s
 8
      determination on this motion. As noted, future-served individuals will have an
 9
      opportunity for a hearing before enforcement; under any definition, this constitutes
10
      pre-deprivation process. Previously-served individuals have the same judicial
11
      opportunity but because these individuals have already been served, any remedy
12
      provided to them will inherently be “post-deprivation” under Plaintiffs’ definition.
13
14          Moreover, Plaintiffs have failed to establish that pre-deprivation process is

15    required in all instances, or even as to the previously-served individuals in this

16    case. Neither Matthews v. Eldridge, 424 U.S. 319 (1976) nor Vasquez v.
17    Rackauckas, 734 F.3d 1025 (9th Cir. 2013), nor any other precedent, requires pre-
18    deprivation process in all instances, and this Court expressly abstained from ruling
19    on this issue in the Arellano Order. (Arellano Order at p.21, n.4). In fact, as
20    discussed below, due process is a flexible doctrine that permits the process the
21    revised policy offers previously-served individuals.
22          But the Court need not reach this issue to rule on Plaintiffs’ motion.
23    Plaintiffs have failed to identify any constitutional infirmities in Defendant’s
24    revised policy and have failed to proffer any factual or legal support to show they
25
      are likely to prevail on the merits, suffer irreparable harm, or that the Winter
26
      factors otherwise support them. Because Plaintiffs have failed to justify their
27
      request for a class-wide preliminary injunction, their motion should be denied.
28


                                                 4
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 1                                STATEMENT OF FACTS
 2          Beginning in 2000, Defendant began using gang injunctions as one method
 3    (of many) to address the problems posed by gangs. (Martinez Decl. at ¶3.) Over
 4    the last 18 years, Defendant’s enforcement of gang injunctions has evolved. At
 5    various points in time and in response to many factors, including changes in case
 6
      law, community input, as well as issues raised in litigation, Defendant has revised
 7
      its gang injunction policies and practices. For example, in response to changes in
 8
      case law, LAPD stopped enforcing certain provisions of the gang injunctions, such
 9
      as curfew and “in the presence of alcohol/controlled substance” provisions. (Id. at
10
      ¶4.) On its own initiative, Defendant added certain safeguards to its injunctions,
11
      including “hardship” exemptions and “opt-out” provisions, designed to increase
12
      protections of individual liberties. (Id.) In response to community input, ten years
13
14    ago, Defendant developed the Removal Petition process to provide an expedient

15    non-judicial avenue for individuals to be removed from injunctions. (Id.)

16          When Plaintiffs filed this case, Defendant was in the process of again
17    revising various aspects of its gang-abatement policies. As part of the settlement
18    of a prior class action suit, Defendant was creating a jobs and education program to
19    help individuals who wish to leave gang life, as well as a quasi-judicial mechanism
20    for approximately 5,700 individuals served with gang injunctions to obtain a
21    determination of their active gang membership by a federal magistrate judge. (Id.
22    at ¶5.)2 Furthermore, and separate and apart from the prior litigation and
23    settlement, Defendant was exploring options for performing a whole-sale review of
24    individuals who were subject to enforcement of a gang injunction. (Id. at ¶15.)
25
26
      2
27     All of these approximately 5,700 individuals in the prior class action lawsuit are
      members of the current class in this action and thus have that quasi-judicial
28    mechanism available to them.

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 1          Upon receipt of the present complaint, Defendant suggested that the parties
 2    attempt to resolve the issues informally, as Defendant was in the process of
 3    reexamining its gang-abatement policies. (Declaration of Patricia Ursea (“Ursea
 4    Decl.”) at ¶2, 3.) The parties entered a stipulation to stay the case and spent six
 5    months actively negotiating a potential settlement, including meeting with a
 6
      mediator. (Id. at ¶4.) Although the negotiations ultimately did not result in
 7
      settlement, Defendant nevertheless decided to move forward with amending its
 8
      policies and practices.
 9
            A key facet of Defendant’s revised policy is changes to LAPD’s service and
10
      enforcement procedures. The drafting, review, and approval of these changes
11
      involved multiple departments and took several months to complete. (Martinez
12
      Decl. at ¶7.) In September 2017, LAPD published Operations Order No. 5, which
13
14    sets forth the new policies and procedures. (Id. at ¶8.) These new procedures

15    include, in relevant part, the following:

16              1. Individuals served with gang injunctions in the future will receive an
17                  initial 30-day “forbearance” period, which allows them to challenge
18                  the City’s determination that he or she is an active gang member
19                  before the injunction can be enforced against them; and
20              2. Defendant will cease enforcement of gang injunctions after five years
21                  from the date an individual was served (“Five-Year Sunset”). If
22                  Defendant has current evidence that the individual is still an active
23                  gang member, the individual may be re-served with the gang
24                  injunction, but this would trigger a new forbearance period and
25
                    opportunity to challenge that determination in court.
26
            (Id. at ¶8.)
27
            After the Operations Order was published, the Los Angeles City Attorney’s
28
      Office gave detailed presentations to all officers who are authorized to serve and/or

                                                  6
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 1    enforce gang injunctions. (Martinez Decl. at ¶10.) These presentations were
 2    mandatory; no officer could serve or enforce a gang injunction until he or she had
 3    received that training. (Id.) Over the course of six months, the City Attorney’s
 4    Office provided a total of five such trainings, which were attended by a total of 312
 5    police officers. (Id.) The City Attorney’s Office also trained officers on accessing
 6
      information in the field to confirm that an individual is subject to enforcement of a
 7
      gang injunction prior to citation or arrest for violating that injunction, which was
 8
      the subject of separate published order, LAPD Notice 1.11, issued on June 26,
 9
      2017. (Id. at ¶9.)
10
            Another key facet of Defendant’s revised policy is the development of a
11
      mechanism in which Defendant will seek a judicial determination that a served
12
      individual is an active gang member, as an alternative to the existing system under
13
14    which served individuals could bring their own separate legal actions to challenge

15    Defendant’s determination or submit a Removal Petition. The City Attorney’s

16    Office developed the following policy:
17        For both previously-served and future-served individuals, the City will
18          advise them that they have the option to request an adjudication of active
19          gang membership in Los Angeles Superior Court;
20        If an individual notifies the City Attorney’s Office in writing that he or she
21          wishes to exercise this option, the City will file a motion in Superior Court
22          requesting an adjudication as to that individual’s active gang membership;
23        The motion will be served on the individual along with the evidence
24          supporting it and the individual will have the opportunity to present
25
            arguments and evidence in opposition of the motion.
26
          Future-served individuals who request this option within the 30-day
27
            forbearance period after they were served will not be subject to enforcement
28
            unless and until the Superior Court determines that Defendant has proven

                                                7
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 1           active gang membership under the proper legal standard.
 2         Previously-served individuals who request this option will not be subject to
 3           enforcement if the Superior Court enters an order enjoining enforcement
 4           (either as a preliminary order or a final order upon the conclusion of the
 5           adjudication). (Martinez Decl. at ¶10.)
 6
             The approximately 1,450 individuals who were previously served with a
 7
      gang injunction and currently remain subject to enforcement3 were mailed letters
 8
      between December 20, 2017 and January 15, 2018 explaining this new judicial
 9
      option to them (as well as an explanation of the new Five Year Sunset provision as
10
      applicable to them4). (Id. at ¶8.) Before sending the letters, attorneys for
11
      Defendant notified attorneys for Plaintiffs that Defendant intended to mail such
12
      letters and provided Plaintiffs’ counsel a list of the names and contact information
13
14    of the anticipated recipients. (Ursea Decl. at ¶¶10, 12.) Also, pursuant to the

15    agreement of the parties’ counsel, counsel for Defendant produced copies of the

16    letters to Plaintiffs’ counsel when they were mailed. (Id. at ¶15.) As of the date of
17    this opposition, Defendant has received no requests by any previously-served class
18
19
20    3
        As noted, Defendant engaged in a whole-sale review of individuals who have
21    been served with a gang injunction. The review involves multiple levels of
      examination by both LAPD and the City Attorney’s Office to identify those
22
      individuals for whom Defendant did not have sufficient evidence of current
23    nuisance and criminal activities that the gang injunctions are intended to curb (i.e.
24    evidence of active gang membership). As a result of this review, over the past 7
      months, approximately 7,500 individuals were sent letters informing them that the
25    City Attorney’s Office and LAPD will no longer enforce the gang injunction(s)
26    against them. (Martinez Decl. at ¶15.)
      4
27      Under the new policy, Defendant will cease enforcement of gang injunctions
      against previously-served individuals after five years from the date of the letter
28    informing the individual of Defendant’s new policy.

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 1    member (or Plaintiffs’ counsel on behalf of those class members) seeking to
 2    exercise this judicial process. (Martinez Decl. at ¶14.)
 3
 4                                       ARGUMENT
 5
 6    I.     PLAINTIFFS HAVE FAILED TO MEET THEIR BURDEN TO
 7           SHOW THAT, IN LIGHT OF DEFENDANT’S REVISED POLICY,
             THE CLASS IS LIKELY TO SUCCEED ON THE MERITS AND/OR
 8           SUFFER IRREPERABLE HARM.
 9
             The burden to prove an entitlement to a preliminary injunction is
10
      unambiguously on Plaintiffs. Winter, 555 U.S. at 20. Even under the Ninth
11
      Circuit’s “sliding scale” approach, Plaintiffs must show that it is likely—not just
12
      possible—that they will suffer irreparable harm. Alliance for the Wild Rockies v.
13
      Cottrell, 632 F.3d 1127, 1132 (9th Cir. 2011). Plaintiffs have presented no
14
15    evidence to show that they are likely to succeed in proving that Defendant’s

16    revised policy violates due process or that the class members are likely to suffer

17    irreparable harm under the new policy. Indeed, Plaintiffs have failed to identify
18    the likelihood of any harm to the class given the fact that each class member can
19    have the issue of active gang membership adjudicated in state court simply by
20    making a request to Defendant.
21           In the absence of any evidence or authority, Plaintiffs base their motion on a
22    grossly oversimplified syllogism: (a) the Court granted Plaintiff Arellano’s motion
23    for preliminary injunction; (b) the Court then granted certification of the class
24    under Rule 23(b)(2); (c) therefore, the Arellano Order should automatically be
25    expanded to the class. (Pl’s Mot. to Expand at 1:3-16.) Plaintiffs’ logic fails
26    because, as noted above, Defendant’s revised policy cures the defects this Court
27
28


                                                9
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 1    identified in the Arellano Order.5 In entering that order, the Court evaluated the
 2    two (post-deprivation) process avenues available under the Defendant’s policy at
 3    that time: the administrative Removal Petition Process and the state court process
 4    under the injunction’s “opt-out” provision.
 5          As to the former (administrative) process, the Court concluded that the
 6
      process was insufficient because (i) it “does not afford enjoined persons the
 7
      opportunity to be presented with the evidence against them”; and (ii) Defendant’s
 8
      “rebuttable presumption of removal” for individuals who have not been convicted,
 9
      charged with, or arrested for specific offenses within the last three years “flip(s)
10
      the burden of proof onto enjoined persons.” (Arellano Order at 23.)
11
            As to the latter (opt-out) process, the Court found it insufficient because
12
      (i) the provision did not specify the procedure that would be used (id. at 18);
13
14    (ii) Arellano’s prior criminal history would have “prevented him from successfully

15    ‘opting out’” (id.); and (iii) Defendant could re-serve an individual even after a

16    successful opt-out solely on the basis that the he/she associated with known gang
17    members. (Id. at 22.)
18          The Court’s reasoning in the Arellano Order does not extend to Defendant’s
19    revised policy. Unlike the Removal Petition procedure, the revised policy provides
20    individuals with an opportunity to review and refute the evidence of active gang
21    membership as Defendant will serve that evidence along with its motion on the
22
      5
23      The syllogism also fails because it incorrectly assumes that the certification of a
      Rule 23(b)(2) class is the same as a finding that the named Plaintiffs and class
24    members are identically situated in all respects, even at different points in time.
25    All that Rule 23(b)(2) requires for certification is that Defendant “has acted or
26    refused to act on grounds that apply generally to the class.” (Fed. R. Civ. Proc.
      23(b)(2).) Defendant’s earlier policy, and now its revised version, “generally
27    appl[ies]” to all class members. This does not mean, however, that the Court’s
28    analysis of the earlier policy as to Arellano applies to the revised policy as to the
      class.

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 1    individual who requests the judicial process. Likewise, the concerns the Court
 2    expressed with the “rebuttable presumption” are alleviated by the revised policy
 3    because the Los Angeles Superior Court judge presiding over the motion will
 4    ensure that the burden of proof is on Defendant, the moving party, as required by
 5    People v. Engelbrecht, 88 Cal.App.4th 1242, 1253 (2001).
 6
            Similarly, the flaws the Court found in the “opt-out” process are not present
 7
      in the judicial process option offered by the revised policy. The California Code of
 8
      Civil Procedure sets forth the procedure that governs the motion practice.
 9
      Likewise, neither criminal history nor any other personal circumstances play any
10
      role in the availability of the judicial process to any individual; Defendant will file
11
      a motion on behalf of any served individual who requests one in writing.6 Finally,
12
      the revised policy provides that an individual may not be re-served unless there is
13
14    new or additional evidence that establishes beyond a reasonable doubt that an

15    individual is an active gang member. In such circumstances, the re-served

16    individual would receive the 30-day forbearance period and the opportunity to
17    adjudicate the issue in court. (Martinez Decl. at ¶8.)
18          Having ignored these critical differences between the policies, Plaintiffs
19    cannot satisfy their burden to obtain a class-wide preliminary injunction. All that
20    due process requires is notice and a meaningful opportunity to be heard. See
21    Matthews, 424 U.S. at 333. Plaintiffs have failed to articulate how the new policy
22    fails to meet these standards. Furthermore, although Plaintiffs speculate that the
23    Superior Court may be “unwilling” to consider such motions (Pl’s Mot. to Expand
24
      6
25      It is possible that in some instances Defendant may receive a request for judicial
26    process and determine that the evidence at that time does not rise to the level of
      active gang membership (for example, when an individual has reformed his or her
27    life away from gang activity). In such cases, Defendant may decide that a motion
28    may not be necessary and may instead notify the individual that he or she is no
      longer subject to enforcement of the gang injunction.

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 1    at 16:13-16), there is no evidence whatsoever to suggest that this is likely, or even
 2    raises a “serious question” as to the merits of Plaintiff’s claim. In fact, it would be
 3    highly unlikely for the Los Angeles Superior Court to reject hearing such a motion.
 4    Defendant will file the proposed motion in the department that granted the original
 5    injunctions. Those injunctions, as Plaintiffs have pointed out, do not have an
 6
      expiration date (see, e.g., [Dckt 2] Complaint at 10:13-14); accordingly, the
 7
      Superior Court retains jurisdictions to enforce those injunctions.7 Additionally,
 8
      according to Plaintiffs’ own representations, other jurisdictions appear to be using
 9
      the same or a similar procedure. (See Pl’s Mot. to Expand at 12:11-14.) Finally,
10
      this Court appeared to contemplate the viability of precisely such a mechanism
11
      when it granted Plaintiff Arellano’s motion for preliminary injunction, stating that
12
      Defendant “is not precluded from returning to the California Superior Court for the
13
14    County of Los Angeles to seek a separate order binding Plaintiff Arellano to the

15    terms of the Echo Park Injunction.” (See Arellano Order at p.29.)

16          For all these reasons, Plaintiffs cannot show that they are likely to succeed
17    on the merits or suffer irreparable harm. Their motion should be denied.
18
19
20
21
22
23
      7
        See Cal. Code Civ. Proc. §128 (stating that the Court has the power “[t]o compel
      obedience to its judgments, orders, and process, and to the orders of a judge out of
24    court, in an action or proceeding pending therein. . . [and] . . . To amend and
25    control its process and orders so as to make them conform to law and justice”);
26    Cal. Code Civ. Proc. §187 (“When jurisdiction is . . .conferred on a Court . . . all
      the means necessary to carry it into effect are also given; and in the exercise of this
27    jurisdiction, if the course of proceeding be not specifically pointed out by this
28    Code or the statute, any suitable process or mode of proceeding may be adopted
      which may appear most conformable to the spirit of this Code.”).

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 1    II.     ALTHOUGH THE COURT NEED NOT DECIDE THE ISSUE AT
              THIS STAGE, PLAINTIFFS’ ASSUMPTION THAT THE REVISED
 2            POLICY VIOLATES DUE PROCESS BECAUSE IT OFFERS NO
 3            PRE-DEPRIVATION REMEDY IS BOTH FACTUALLY AND
              LEGALLY INCORRECT.
 4
 5            While Plaintiffs do not directly address the issue, implicit throughout
 6    Plaintiffs’ motion is an assumption that an injunction must issue because due
 7    process can only be satisfied by pre-deprivation process and that the revised policy
 8    fails to provide such process to the class. (See, e.g., Pl’s Mot. to Expand at 4:1,
 9    4:21, 9:10, 14:21.) As discussed below, this assumption is not supported by the
10    facts in this case or the law. Moreover, as in the Arellano Order, it is (again)
11    unnecessary for this Court to decide the issue at this preliminary stage. Because
12    Plaintiffs have chosen not to explain the law or their analysis on this issue,
13    particularly as it would apply to the past and future class members under the
14
      revised policy, their motion should be denied simply because they failed to satisfy
15
      their burden under Winter.
16
              First, as a factual matter, individuals who are served with gang injunctions in
17
      the future will receive pre-deprivation process. As explained above, going
18
      forward, LAPD will not enforce a gang injunction for an initial 30 day forbearance
19
      period following service; if an individual requests judicial process in that time
20
      period, LAPD will hold enforcement until that judicial process is complete and a
21
22    state court judge has determined enforcement is warranted. (See Martinez Decl. at

23    ¶8.) Given Plaintiffs’ view that “deprivation” occurs due to the threat of
24    enforcement (see Pl’s Mot. to Expand at 7:18-26), and the revised policy provides
25    that, for individuals who select this option, there is no threat of enforcement unless
26    and until a Superior Court judge adjudicates the issue of active gang membership,
27    Defendant cannot imagine what Plaintiffs’ constitutional concerns may be, or what
28    imminent irreparable harm Plaintiffs believe is likely, and Plaintiffs have


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 1    articulated none.8
 2           Second, although by definition, previously-served individuals are receiving
 3    the judicial process option after having been served with a gang injunction,
 4    Plaintiffs fail to establish, by evidence, case law, or even argument, why due
 5    process would require anything more in these circumstances. Neither Matthews
 6    nor Vasquez hold that post-deprivation process is always inadequate. In Matthews,
 7    the Court upheld as constitutional the post-deprivation process that was challenged
 8    in that case. 424 U.S. at 348-349. In Vasquez, the Court expressly declined to
 9    hold that pre-deprivation process was required in all instances. 734 F.3d at 1048,
10    fn. 22. This Court likewise did not rule on the issue in its Arellano Order.
11    (Arellano Order at p.21, n.4).9
12           The criminal California Court of Appeal case Plaintiffs cite, People v.
13    Sanchez, No. F071330, 2017 WL 6462438 (Cal. Ct. App. Dec. 19, 2017), does
14    nothing to alter these precedents nor does it support Plaintiff’s request for a class-
15    wide injunction. In that case, the Court held that criminal contempt charges
16    against a defendant should be dismissed because the arrest and prosecution
17    stemmed from unconstitutional service under the unique circumstances of that
18    case. Indeed, the Court began its opinion by stating, “We emphasize, however,
19    that our holding is limited . . . [to] the circumstances of this case. . . .” (Id. at *2.)
20
21    8
        In the event Plaintiffs are suggesting that due process requires Defendant to
22    affirmatively seek judicial adjudication in every instance without requiring served
23    individuals to request a hearing first, such a contention has absolutely no support in
      the law. Due process requires not the hearing itself but the opportunity to be
24    heard. See, e.g., Reno v. Flores, 507 U.S. 292, 309 (1993); Traverso v. People ex
25    rel Dept. of Transp., 6 Cal.4th 1152, 1165 (1993).
26    9
        Particularly in situations such as this one, when the government interest involves
27    the safety of its citizens, the U.S. Supreme Court repeatedly has upheld the
28    exclusive use of post-deprivation remedies. (See, e.g., Dixon v. Love, 431 U.S.
      105, 114 (1977); Mackey v. Montrym, 443 U.S. 1, 17–18 (1979).)

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 1    Given this admonition, it is inappropriate (if not impossible) to apply the Court’s
 2    ruling—entered in a criminal case as to one particular individual who was subject
 3    to not only enforcement but arrest, under a different gang injunction policy issued
 4    by a different public entity—to the preliminary class-wide relief sought by
 5    Plaintiffs here.
 6             Moreover, even viewed from a general policy perspective, the Sanchez case
 7    is factually inapposite. As just one example, the Court in Sanchez found that
 8    “there [was] no process for an affected individual in Sanchez’s position to
 9    challenge the [Stanislaus County District Attorney’s] conclusion [of active gang
10    membership] prior to being arrested and prosecuted.” (Id. at *25.) Here,
11    Defendant has offered numerous avenues to challenge service and enforcement, all
12    of which were available to served individuals to utilize before any arrest or
13    prosecution. Such differences in policy cannot be ignored; indeed, the judicial
14    avenue for challenging active gang membership adopted in Defendant’s revised
15    policy is crucial to the resolution of Plaintiffs’ motion.
16             Plaintiffs’ motion fails for another reason—Plaintiffs have failed to
17    demonstrate that previously-served individuals are likely to suffer irreparable
18    injury under Defendant’s revised policy. As discussed above, starting in
19    December 20, 2017, all individuals previously served with a gang injunction (who
20    have not been identified as no longer subject to enforcement10) were mailed letters
21    notifying them of Defendant’s revised policy, and specifically, their right to
22    request that Defendant initiate a judicial process to determine their active gang
23    membership. Defendant provided the names and contact information of those
24    individuals to Plaintiffs’ counsel before the letters were mailed (and even before
25    class certification was entered), and further provided Plaintiffs’ counsel with
26
27
      10
           See Footnote 4, supra.
28


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 1    copies of every letter mailed to every class member. (Ursea Decl. at ¶¶13, 15.) As
 2    of the date of this Opposition, Defendant has received no requests for a court
 3    hearing from any class member or from Plaintiffs’ counsel. (Martinez Decl. at ¶
 4    14.) The lack of urgency in responding to Defendant’s offers to file motions in
 5    state court to determine active gang membership casts further doubt on any claim
 6    of irreparable harm. (See, e.g., Oakland Tribune, Inc. v. Chronicle Publ'g Co., 762
 7    F.2d 1374, 1377 (9th Cir. 1985) (“Plaintiff’s long delay … implies a lack of
 8    urgency and irreparable harm.”).)
 9             For all these reasons, the Court need not resolve the issue of pre- versus
10    post-deprivation process at this stage. The motion should be denied because
11    Plaintiffs have failed to satisfy their burden under Winter.
12    III.     PLAINTIFFS’ SPECULATION THAT DEFENDANT IS NOT
13             COMMITTED TO THE REVISED POLICIES IS BELIED BY THE
               FACTUAL RECORD, AND IN ANY EVENT DOES NOT SHOW A
14             “LIKELIHOOD” OF IRREPERABLE HARM.
15             Plaintiffs’ unfounded conjecture that Defendant’s revised policy is
16    “experimental” cannot, as a matter of law, satisfy Plaintiffs’ burden to prove that
17    preliminary class-wide equitable relief is warranted. See, e.g., Monsanto Co. v.
18    Geertson Seed Farms, 561 U.S. 139, 158 (2010) (holding that preliminary
19
      injunction cannot be based on speculative injury). The only “evidence” Plaintiffs
20
      offer in support of this opinion is a declaration by Plaintiffs’ counsel purportedly
21
      reporting statements made by Defendant’s counsel on a meet-and-confer call. (Pl’s
22
      Mot. to Expand at 15:15-20; Ochoa Decl.)
23
               Defendants’ counsel’s declaration has no evidentiary value.11 It also appears
24
      to be based on a misunderstanding. The phone call at issue was initiated by
25
26    11
        (See Defendant’s Evidentiary Objections, filed concurrently, citing Fed. R. Evid.
27    801(c) (hearsay); In re Toys “R” Us-Delaware, Inc., No. ML 08-1980 MMM
28    (FMOx), 2010 U.S. Dist LEXIS 130884 (C.D. Cal. July 29, 2010) (“The unsworn


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 1    Defendant’s counsel to inform Plaintiffs’ counsel, even before the class was
 2    certified, that Defendant was preparing to mail letters to previously-served
 3    individuals notifying them of Defendant’s revised policy and to negotiate (also as a
 4    courtesy) the best method for sharing those communications with counsel. (Ursea
 5    Decl. at ¶9, 10; Ex. 1 thereto.) During that call, Defendant’s counsel stated that
 6
      Defendant was not aware of such motions having previously been filed in Los
 7
      Angeles Superior Court and so, the details of the proposed judicial process, e.g.,
 8
      the time it will take for the court to adjudicate the issues, will become evident only
 9
      after the process has been “tested” by Defendant filing a few initial motions. (Id.
10
      at ¶11.) Defendant’s counsel thus suggested that the parties meet again to discuss
11
      the judicial process sometime in the Summer of 2018, to allow time for some of
12
      the motions to be filed and adjudicated. (Id.) Defendant’s counsel later sent
13
14    Plaintiffs’ counsel an email summarizing that conversation, which reflects the

15    account of the call presented here. (Id. at ¶13; Ex. 1 thereto.) Defendant’s counsel

16    did not receive a response to that email nor any other request for clarification from
17    Plaintiffs’ counsel. (Id. at ¶ 14.)
18          Moreover, the record demonstrates that Defendant is in fact committed to
19    revising its gang injunction policy to add additional constitutional protections. As
20    described above, Defendant has spent close to a year and hundreds of hours
21    reviewing, approving, adopting, and implementing various aspects of its revised
22    policy. (Martinez Decl. at ¶7.) Defendant has (a) memorialized key features of its
23
24    statements of defendant’s counsel in emails to opposing counsel [] do not
25    constitute admissible evidence.”); Costco Wholesale Corp. v. AU Optronics Corp.,
26    No. C13-1207RAJ, 2014 U.S. Dist. LEXIS 132145 (W.D. Wash. Sept. 17, 2014)
      (“The court is aware of no precedent supporting the notion that every assertion a
27    DOJ attorney utters in connection with a criminal prosecution becomes a ‘factual
28    finding’ exempt from the rule against hearsay.”).)


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 1    policies in formal LAPD Orders (id. at ¶8); (b) mailed thousands of letters
 2    notifying served individuals of the options available under the new policy (id. at
 3    ¶13); (c) prepared and conducted trainings of hundreds of LAPD officers regarding
 4    the new policy (id. at ¶¶9, 10); and (d) developed new technological solutions to
 5    permit LAPD officers to access information related to the new policies while in the
 6
      field (id. at 9).12 These documented efforts show that Plaintiffs’ speculations are
 7
      unfounded.13 Because Defendant has demonstrated a sincere and enduring
 8
      commitment to adding significant safeguards to its gang injunction policy to
 9
      protect the liberty interests of individuals served with such injunctions, and
10
11
12
13
      12
        Aspects of the revised policy also have been publicized in the media. (See Ex. 2
14    to Ursea Decl.)
15    13
        Plaintiffs also point to the “litigation history” to support their position that
16    Defendant cannot be trusted to implement safeguards without an order from this
      Court. (See Pl’s Mot. to Expand at 15:20-16:8.) Plaintiffs’ characterization of
17
      Defendant’s litigation conduct is undeserved. The record shows that Defendant
18    has litigated this case in good faith at all times. As noted above, Defendant has
19    voluntarily kept Plaintiffs’ counsel apprised of details regarding the revised policy
      and the status of its implementation. (Ursea Decl. at ¶¶5, 9-15.) Similarly,
20    Defendant’s counsel provided contact information for potential class members to
21    Plaintiffs’ counsel even before the class was certified and sent Plaintiffs’ counsel
      copies of the notifications of the revised policy sent to previously-served
22
      individuals within days of them being mailed. (Id.) Finally, Plaintiffs’ claim that
23    Defendant’s proposal to brief mootness before class certification “succeeded in
24    delaying Plaintiffs in filing their class certification motion from Plaintiff’s
      proposed deadline of June 30 until October 2” fails to take into account that
25    (a) Defendant’s pledge to amend its policy proved true (even if took somewhat
26    longer than expected); and (b) Defendant’s proposal was not ruled upon
      immediately because this case was returned for reassignment on July 21, 2017 (see
27    id. at ¶5-8).
28


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 1    because Plaintiffs have failed to satisfy their burden of proof under Winter, a
 2    preliminary injunction is unwarranted.
 3    IV.     PLAINTIFFS HAVE FAILED TO ESTABLISH THAT THE
 4            BALANCE OF THE EQUITIES FAVORS THEM.
 5            It is not accurate to assume, as Plaintiffs urge the Court to do (see Pl’s Mot.
 6    to Expand at 14:27-15:5), that the administrative and fiscal burdens associated with
 7    mandating post-deprivation process for a single named plaintiff (Arellano) are the
 8    same burdens associated with mandating pre-deprivation process for
 9
      approximately 1,450 individuals—particularly given that none of those individuals
10
      have requested such a hearing despite being notified of Defendant’s revised policy.
11
      A class-wide preliminary injunction would strain not only Defendant’s resources
12
      but also the resources of the Los Angeles Superior Court, which would need to
13
      adjudicate motions on all 1,450 previously-served individuals so that Defendant
14
      could have the chance to continue enforcement against them. A class-wide
15
      injunction preventing enforcement of over one thousand persons with gang
16
17    injunctions also would have a significantly larger impact on public safety than the

18    impact this Court considered when entering the Arellano Order.

19            These burdens must be meaningfully evaluated, particularly in these
20    circumstances, where Plaintiffs’ request for preliminary injunction significantly
21    affects not only Defendant but the Superior Court and the residents of the City of
22    Los Angeles. Plaintiffs, however, elected to not evaluate these administrative or
23    fiscal burdens, and not to provide any evidence in support of their claim that the
24    equities tip in their favor. Rather, Plaintiffs chose to rely solely on the analysis of
25    this Court in the Arellano Order, which involved very different burdens under a
26    very different gang injunction policy. This further underscores Plaintiffs’ failure to
27    satisfy their burden under Winter. The motion should be denied.
28


                                                 19
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 1                                       CONCLUSION
 2
            By ignoring critical distinctions between the circumstances that underpinned
 3
      Plaintiff Arellano’s request for preliminary injunction and those presented by a
 4
      class of thousands who have been offered new due process opportunities under a
 5
      revised policy, Plaintiffs invite the Court to presume their entitlement to an
 6
      injunction unless Defendant proves otherwise. Plaintiffs’ invitation should be
 7
      declined because it improperly inverts the standard. As the United States Supreme
 8
 9    Court has explained: “It is not enough for a court considering a request for

10    injunctive relief to ask whether there is a good reason why an injunction should

11    not issue; rather, a court must determine that an injunction should issue under the
12    traditional four-factor test [].” Monsanto, 561 U.S. at 158 (emphasis in original).
13    Plaintiffs have not established that an injunction is justified under these
14    circumstances; their motion should be denied.
15
16    DATED:      February 5, 2018
17                               MICHAEL N. FEUER, City Attorney
18                               JAMES P. CLARK, Chief Assistant City Attorney
                                 THOMAS H. PETERS, Chief Assistant City Attorney
19
                                 SCOTT MARCUS, Senior Assistant City Attorney
20                               PATRICIA URSEA, Deputy City Attorney
21
22                               By:   /s/ A. Patricia Ursea
23                                     A. PATRICIA URSEA
                                       Deputy City Attorney,
24
                                       Attorneys for Defendant
25                                     CITY OF LOS ANGELES
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27
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